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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   20 Cr. 330 (AJN)
               v.                                       :
                                                        :   NOTICE OF MOTION
 GHISLAINE MAXWELL,
                                                        :
                                                        :   ORAL ARGUMENT REQUESTED
                            Defendant.
                                                        :
                                                        :
------------------------------------------------------- x


DEFENDANT GHISLAINE MAXWELL’S NOTICE OF MOTION FOR A SEVERANCE
 OF AND SEPARATE TRIAL ON COUNTS FIVE AND SIX OF THE SUPERSEDING
                           INDICTMENT
                         (Pretrial Motion # 5)

        PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, Defendant

Ghislaine Maxwell, through counsel, hereby moves for a severance of and separate trial on

Counts Five and Six of the Superseding Indictment.

        Dated: January 25, 2021
               New York, New York
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                            Respectfully submitted,


                            s/ Jeffrey S. Pagliuca
                            Jeffrey S. Pagliuca
                            Laura A. Menninger
                            HADDON, MORGAN & FOREMAN P.C.
                            150 East 10th Avenue
                            Denver, CO 80203
                            Phone: 303-831-7364

                            Mark S. Cohen
                            Christian R. Everdell
                            COHEN & GRESSER LLP
                            800 Third Avenue
                            New York, NY 10022
                            Phone: 212-957-7600

                            Bobbi C. Sternheim
                            Law Offices of Bobbi C. Sternheim
                            33 West 19th Street - 4th Floor
                            New York, NY 10011
                            Phone: 212-243-1100

                            Attorneys for Ghislaine Maxwell




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